Case 1:23-cv-01177-GBW             Document 62     Filed 05/02/25     Page 1 of 2 PageID #: 1345




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

  AIR CANADA AND AEROPLAN INC.,

                           Plaintiffs,
                                                        C.A. No. 23-1177-GBW
                  v.

  LOCALHOST LLC,

                           Defendant.


               STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME

          WHEREAS, Plaintiffs Air Canada and Aeroplan Inc. (“Plaintiffs”) and Defendant

  Localhost LLC (“Defendant”) have conferred and agreed to an extension of time for certain

  deadlines set forth in the Scheduling Order to facilitate the completion of fact and expert

  discovery;

          WHEREAS, the proposed extensions do not impact the pretrial conference or trial date

  in this case; and

          WHEREAS, pursuant to Local Rule 16.4, the counsel for the parties have sent a copy

  of this stipulation to their clients;

          IT IS HEREBY STIPULATED AND AGREED by the parties, subject to the approval

  of the Court, that the following deadlines shall be extended as follows:

                       Event                     Current Deadline            Proposed Deadline

  Fact discovery cut off                       March 7, 2025            July 3, 2025


  Disclosure of expert testimony under         May 16, 2025             August 22, 2025
  Federal Rule of Civil Procedure
  26(a)(2) for the party who has the initial
  burden of proof on the subject matter.
Case 1:23-cv-01177-GBW         Document 62        Filed 05/02/25      Page 2 of 2 PageID #: 1346




  Supplemental disclosure to contradict or   June 27, 2025              September 19, 2025
  rebut evidence on the matter identified
  by another party.
  Reply expert reports from the party with   July 25, 2025              October 10, 2025
  the initial burden of proof.

  Expert discovery cut off.                  August 29, 2025            October 30, 2025


  Deadline to file case-dispositive          October 3, 2025            November 21, 2025
  motions, including an opening brief and
  affidavits accompanying each such
  motion.
  Pretrial conference                        April 7, 2026 at 3:00      No change
                                             p.m.

  4 Day Jury Trial                           April 13, 2026 at 9:30     No change
                                             a.m.



  Dated: May 2, 2025

   MCCARTER & ENGLISH, LLP                     GELLERT SEITZ BUSENKELL &
                                               BROWN, LLC

    /s/ Alexandra M. Joyce                      /s/ Charles J. Brown, III
   Daniel M. Silver (#4758)                    Charles J. Brown, III (#3368)
   Alexandra M. Joyce (#6423)                  201 N. Orange Street, Suite 300
   Renaissance Centre                          Wilmington, DE 19801
   405 N. King Street, 8th Floor               (302) 425-5800
   Wilmington, Delaware 19801                  crbown@gsbblaw.com
   (302) 984-6300
   dsilver@mccarter.com                        Counsel for Defendant
   ajoyce@mccarter.com

   Counsel for Plaintiffs


 IT IS HEREBY ORDERED this ____ day of _________, 2025.


                                               ____________________________________
                                                    United States District Judge
